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                             UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ALASKA


In re:

Pomrenke Mining, LLC                                 Case No 19-00083 GS
                                                     Chapter 7

                                OBJECTION TO PROOF OF CLAIM
                                         (Claim 7-1)

THIS IS AN OBJECTION TO YOUR CLAIM IN THIS BANKRUPTCY CASE. THIS
OBJECTION ASKS THE COURT TO DISALLOW (ELIMINATE), REDUCE, OR
MODIFY YOUR CLAIM AS SET FORTH IN THIS OBJECTION. IF YOU DO NOT FILE
A WRITTEN RESPONSE TO THIS OBJECTION WITHIN 30 DAYS FROM THE DATE
OF MAILING OF THIS OBJECTION, THE COURT MAY DISALLOW (ELIMINATE),
REDUCE, OR MODIFY YOUR CLAIM AS SET FORTH IN THIS OBJECTION,
WITHOUT A HEARING BEING HELD.

ANY RESPONSE TO THIS OBJECTION MUST EXPLAIN YOUR POSITION AND BE
TIMELY FILED WITH THE UNITED STATES BANKRUPTCY CLERK, DISTRICT OF
ALASKA, 605 W. 4th St., Ste. 138, ANCHORAGE, AK 99501. IF A TIMELY RESPONSE
IS FILED, THE COURT WILL THEN SET A HEARING ON THE OBJECTION AND
YOU WILL BE PROVIDED WITH NOTICE OF THE DATE, TIME, AND PLACE OF
THE HEARING. IF YOU DO NOT ATTEND THE HEARING, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE OBJECTION TO YOUR CLAIM.

TO THE HONORABLE GARY SPRAKER, UNITED STATES BANKRUPTCY JUDGE:

         COME NOW, Parties-in-Interest/Equity Security Holders Blue Water Gold, LLC and Blue

Water Mining, LLC (collectively, the “Blue Water Entities”), through their undersigned counsel,



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Mr. Ronald J. Smeberg and Mr. Eric D. Sherer, both of Sherer Muller, PLLC, appearing herein

pro hac vice, pursuant to Orders of the Court granting such motions [Docket Nos. 64 and 70,

respectively], file this Objection to Proof of Claim filed by Jon Keith Byer (“Byer”) (Claim No.7-

1), and in support thereof would show the Court the following:


                                     JURISDICTION AND VENUE

    1. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1334(b) and 157(a). This is a “core

proceeding” pursuant to 28 U.S.C. § 157(b)(2) arising in a voluntary case commenced under Title

11 U.S.C. This is a contested matter brought pursuant to Rule 9014 of the Federal Rules of

Bankruptcy Procedure Venue is proper pursuant to 28 U.S.C. § 1408(1).

                                               BACKGROUND

    2. On March 15, 2019 (“Petition Date”) Pomrenke Mining, LLC (“Debtor”) filed a Chapter

7 Voluntary Petition for Non-Individuals. The Section 341 meeting of creditors was held on May

16, 2019, and concluded on May 30, 2019, at which the Trustee was appointed as permanent trustee

for this case. The deadline for filing claims in this case is set for July 17, 2019.

    3. To date, a number of Proofs of Claim have been filed by insiders of the Debtor, including

Claim No. 7-1.

                                            PROOF OF CLAIM

    4. The Proof of Claim asserts that Pomrenke is a creditor holding a valid enforceable claim

in the amount of $240,500.

                                     GROUNDS FOR OBJECTION

    5.   Byer cites that his claim is based on “salary not received pre-petition,” but fails to provide

any documentation indicating that a valid enforceable employment agreement exists, as between

the Debtor and Byer. Accordingly, the Proof of Claim does not constitute a prima facie claim



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because it does not comply with the requirements set forth in Rule 3001. The claim, which is

purported to be based on an employment contract established in 2016, fails to include “a copy of

the writing,” an explicit requirement of Rule 3001.

    6. Further, Claim 7-1 is objectionable under 11 U.S.C. §502(b) based on the following:

         a. The claim is not supported by any written agreement signed by the Debtor, and is

            therefore “unenforceable against the debtor and property of the Debtor,” the Debtor’s

            estate, or the Trustee. See §502(b)(l).

         b. Byer fails to provide any supporting documentation of a written agreement by the

            Debtor for the salary, as well as any consideration that the Debtor did not owe those

            salaries if the Debtor entity did not make enough money in operations to pay such

            salaries, and possibly other factors.

    7. Representatives of the Interested Parties have reviewed the Proof of Claim and dispute and

refute the amount owed. For the reasons stated above, the Proof of Claim does not support a valid

claim under 11 U.S.C. §502(b) and should be disallowed, or if found to be valid in part, should be

reduced by any invalid amount.

                                          RELIEF REQUESTED

    8. The Proof of Claim and its supporting documents, if any, do not support the validity and/or

amount of the claim, and Debtor hereby disputes the Claim to the extent not so supported.

Therefore, pursuant to 11 U.S.C. 502(b), the claim should be disallowed in its entirety or reduced.




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    WHEREFORE, PREMESIS CONSIDERED, the Blue Water Entities respectfully request that

this Court sustain the Blue Water Entities Objections to Claim 7-1 and grant any such further relief

to which they may be entitled.

                                                     Respectfully submitted,

                                                     SHERER MULLER, PLLC


                                                     By:     /s/ Eric D. Sherer
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                                      CERTIFICATE OF SERVICE

The undersigned hereby certifies that on June 21, 2019, a true and correct copy of the foregoing
was served on all parties who have consented to cm/ecf service.


                                                     /s/ Ronald J. Smeberg
                                                     Ronald J. Smeberg




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                             UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF ALASKA


In re:

Pomrenke Mining, LLC                                 Case No 19-00083 GS
                                                     Chapter 7

                        ORDER ON OBJECTION TO PROOF OF CLAIM
                                     (CLAIM 7-1)

        On June 21, 2013, Interested Parties Blue Water Gold, LLC and Blue Water Mining, LLC,
(‘Interested Parties”) filed an Objection to the Claim No. 7-1 of Jon Keith Byer. Upon the
expiration of thirty (30) days notice, no response to said objection has been filed.


       IT IS THEREFORE ORDERED that Interested Parties’ Objection to Claim No. 7-1 of Jon
Keith Byer is granted and the Claim No. 7-1 of Jon Keith Byer is disallowed.


Dated: __________ , 2019


                                                     Hon. Gary Spraker
                                                     United State Bankruptcy Judge




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